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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                           RESPONDENT


v.                                  No. 4:11-cr-40037-006-SOH


MARCUS SIMS                                                                           MOVANT


                                              ORDER

       Movant, a Defendant in this criminal matter, has submitted his Motion under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence. ECF No. 1319. The Court has reviewed the Motion

and finds the Government should respond.

       IT IS HEREBY ORDERED that the United States of America, by and through the United

States Attorney for the Western District of Arkansas, is ordered to answer or otherwise respond to

the issues raised by the Motion within sixty (60) days of the date of this Order. The Government is

directed to address the issue of the timeliness of the Motion in its response, if necessary.

       ENTERED this 28th day of April 2014.


                                                          /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       UNITED STATES MAGISTRATE JUDGE
